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                          UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO

                                   WESTERN DIVISION

                                        CINCINNATI




 XIAFEN “SHERRY” CHEN                       :

                                            :   Case No. 1:19-CV-00045
 1438 Meadow Ridge Circle
                                            :
 Wilmington, OH 45177                           District Judge Timothy S. Black
                                            :

                                            :
                      Plaintiff,                PLAINTIFF’S MOTION FOR LEAVE
                                            :   TO AMEND THE COMPLAINT AS A
                                                MATTER OF RIGHT
                                            :

 vs.                                        :
                                                JURY TRIAL DEMANDED
                                            :

 UNITED STATES OF AMERICA



                      Defendant.




                                   I.    INTRODUCTION

       Plaintiff Xiafen “Sherry” Chen, through undersigned counsel, respectfully moves

this Court for leave to file the attached Amended Complaint, and, in support thereof

asserts as follows:
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1.      Plaintiff Sherry Chen filed her Complaint in this matter on January 18, 2019. The

        Complaint alleged claims for malicious prosecution and the false arrest of Sherry

        Chen.

2.      Pursuant to Fed. R. Civ. P. 15 (a), plaintiff can amend her original complaint in this

        action as a matter of course within the period to respond to the motion to dismiss.

3.      The Amended Complaint provides additional factual support for Plaintiff’s claims

        and adds new legal claims and Defendants to this important case in which

        important Constitutional protections are at stake.

4.      At all times in this action Plaintiffs have acted in good faith and without delay. No

        prejudice will be experienced by any opposing part since they have not answered

        the Complaint, there is no responsive filing, and no discovery or scheduling has

        taken place.

The proposed Amended Complaint is attached to this motion.



Respectfully submitted,

/s/ Michele L. Young (0062011)
Trial Attorney for Plaintiff
Michele L. Young Co., LPA
8525 Given Road,
Cincinnati, OH 45243
Tel: (513) 617-9152
michele@michelelyounglaw.com

Peter Toren – Member NY, DC, and Cal Bars (admitted pro hac vice)
3028 Newark Street, NW
Washington, D.C. 20008
Tel: (646) 623-4654
ptoren@petertoren.com
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